Case 1:06-cr-10286-JLT Document 208 Filed 07/31/08 Page 1 of 10
Case 1:06-cr-10286-JLT Document 208 Filed 07/31/08 Page 2 of 10
Case 1:06-cr-10286-JLT Document 208 Filed 07/31/08 Page 3 of 10
Case 1:06-cr-10286-JLT Document 208 Filed 07/31/08 Page 4 of 10
Case 1:06-cr-10286-JLT Document 208 Filed 07/31/08 Page 5 of 10
Case 1:06-cr-10286-JLT Document 208 Filed 07/31/08 Page 6 of 10
Case 1:06-cr-10286-JLT Document 208 Filed 07/31/08 Page 7 of 10
Case 1:06-cr-10286-JLT Document 208 Filed 07/31/08 Page 8 of 10
Case 1:06-cr-10286-JLT Document 208 Filed 07/31/08 Page 9 of 10
Case 1:06-cr-10286-JLT Document 208 Filed 07/31/08 Page 10 of 10
